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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

                                CASE NO.: __________________________

  DSQUARED2 TRADEMARKS LTD.,

          Plaintiff,
  v.

  THE INDIVIDUALS, PARTNERSHIPS AND
  UNINCORPORATED ASSOCIATIONS
  IDENTIFIED ON SCHEDULE “A,”

         Defendants.
                                                 /

                                               COMPLAINT

          Plaintiff, Dsquared2 Trademarks Ltd. (“Dsquared2”), by and through undersigned counsel,

  hereby sues Defendants, the Individuals, Partnerships, and Unincorporated Associations identified

  in the caption, which are set forth on Schedule “A” hereto (collectively, the “Defendants”), and

  allege as follows:

                                       NATURE OF THE ACTION

          1.         Defendants are promoting, selling, reproducing, offering for sale, and distributing

  goods using counterfeits and confusingly similar imitations of Plaintiff’s trademarks within this

  district through various Internet based e-commerce stores and fully interactive commercial Internet

  websites operating under the seller identification names set forth on Schedule “A” hereto (the

  “Seller IDs”). 1

          2.         Like many other famous trademark owners, Plaintiff suffers ongoing daily and

  sustained violations of their trademark rights at the hands of counterfeiters and infringers, such as



          1
              Plaintiff will be moving to file Schedule “A” under seal.
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  Defendants herein, who wrongfully reproduce and counterfeit Plaintiff’s trademarks for the twin

  purposes of (i) duping and confusing the consuming public and (ii) earning substantial profits. The

  natural and intended byproduct of Defendants’ actions is the erosion and destruction of the

  goodwill associated with Plaintiff’s trademarks, as well as the destruction of the legitimate market

  sector in which they operate.

         3.      In order to combat the indivisible harm caused by the combined actions of

  Defendants and others engaging in similar conduct, Plaintiff has expended significant amounts of

  resources in connection with trademark enforcement efforts, including legal fees, investigative

  fees, and support mechanisms for law enforcement. The exponential growth of counterfeiting over

  the Internet, particularly through online marketplace platforms, has created an environment that

  requires individuals, such as Plaintiff, to expend significant time and money across a wide

  spectrum of efforts in order to protect both consumers and themselves from the negative effects of

  confusion and the erosion of the goodwill connected to Plaintiff’s brand.

                                  JURISDICTION AND VENUE

         4.      This is an action seeking damages and injunctive relief for trademark counterfeiting

  and infringement, false designation of origin under the Lanham Act, common law unfair

  competition; common law trademark infringement pursuant to 15 U.S.C. §§ 1114, 1116, 1121,

  1125(a), and 1125(d), and The All Writs Act, 28 U.S.C. § 1651(a); 15 U.S.C. § 1051 et seq.

         5.      This Court has subject matter jurisdiction pursuant to 15 U.S.C. §§ 1114 and

  1125(a), 15 U.S.C. § 1121 and 28 U.S.C. §§ 1331 and 1338.

         6.      This Court has supplemental jurisdiction under 28 U.S.C. § 1367 over the state law

  claims, because the claims are so related to the trademark claims in this action, over which this




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  Court has original jurisdiction, that they form part of the same case or controversy under Article

  III of the United States Constitution.

            7.    Defendants are subject to personal jurisdiction in this District because they direct

  business activities toward and conduct business with consumers throughout the United States,

  including within the State of Florida and this District through at least the Internet based e-

  commerce stores and fully interactive commercial Internet websites accessible in Florida and

  operating under the Seller IDs. Upon information and belief, Defendants infringe Plaintiff’s

  trademarks in this District by advertising, using, selling, promoting and distributing counterfeit

  trademark goods through such Internet based e-commerce stores and fully interactive commercial

  Internet websites.

            8.    Venue is proper in this District pursuant 28 U.S.C. § 1391 since Defendants are,

  upon information and belief, aliens engaged in infringing activities and causing harm within this

  District by advertising, offering to sell, selling and/or shipping infringing products into this

  District. Defendants may be found in this District, as they are subject to personal jurisdiction

  herein.

                                            THE PLAINTIFF

            9.    Plaintiff is a limited company having its principal place of business in Dublin,

  Ireland.

            10.   Plaintiff is the owners of all rights, title, and interest in several federally registered

  trademarks (the “Dsquared2 Marks”).

            11.   High-quality products under the Dsquared2 Marks are designed, marketed, and

  distributed in interstate commerce, including within this judicial district.




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          12.    The DSquared2 brand was launched in 1995 by brothers and fashion designers,

  Dean and Dan Caten, following a successful early career that included work with internationally

  acclaimed brands such as Versace and Diesel.

          13.    The Dsquared2 brand quickly gained recognition with superstar celebrities, and

  thus, with the general public. In 2000–01, Madonna commissioned the brothers to design over

  150 pieces for her Drowned World Tour 2001 and “Don't Tell Me” music video. In 2004, Naomi

  Campbell opened the Dsquared2 Fall show; in 2005, the Dsquared2 fashion show featured

  Christina Aguilera on the runway; in September 2007, the Dsquared2 fashion show in Milan

  featured Rihanna on the runway; in January 2010, the Dsquared2 Autumn/Winter 2010 menswear

  show in Milan was opened and closed by Bill Kaulitz; and recently, the DSquared2 Spring 2020

  campaign featured Cher. Other notable celebrities that have worn Dsquared2’s famous designs

  include Brittney Spears, Justin Bieber, Justin Timberlake, Kendrick Lamar, Ricky Martin, Nicolas

  Cage, George Clooney, Lenny Kravitz, and Fergie.

          14.    In June 2007, the first DSquared2 flagship was opened in Milan’s fashion district,

  followed by multiple openings throughout Europe and Southeast Asia including its largest flagship

  store in London in 2015. Presently, there are over one hundred (100) DSquared2 locations

  throughout the world, including stores located throughout the United States (and in this Judicial

  District).

          15.    DSquared2 generates a significant amount of revenue through licensing

  arrangements with various third parties in a range of industries, including but not limited to Honda,

  Safilo, Euroitalia, Pepsi Max, and many more.

          16.    Goods bearing and reproducing the Dsquared2 Marks are sold through authorized

  retailers throughout the United States, including within the State of Florida and this District.



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  Genuine and authorized products bearing and reproducing the Dsquared2 Marks are widely

  legitimately advertised, promoted, and distributed by and through Plaintiff’s and their authorized

  partners, including but not limited to the following official online store and website:

  www.dsquared2.com/. Over the course of the past several years, visibility on the Internet,

  particularly via Internet search engines such as Google, Yahoo!, and Bing, has become

  increasingly important to Plaintiff’s overall marketing and consumer education efforts. Thus,

  Plaintiff expends significant monetary resources on Internet marketing and consumer education,

  including search engine optimization (“SEO”) strategies. Those strategies allow Plaintiff and its

  authorized partners to educate consumers fairly and legitimately about the value associated with

  the Dsquared2 brand.

                                          THE DEFENDANTS

         17.        Defendants are individuals and/or business entities of unknown makeup, each of

  whom, upon information and belief, either reside and/or operate in foreign jurisdictions, or

  redistribute products from the same or similar sources in those locations and/or ship their goods

  from the same or similar sources in those locations to shipping and fulfillment centers within the

  United States to redistribute their products from those locations. Defendants have the capacity to

  be sued pursuant to Federal Rule of Civil Procedure 17(b). Defendants target their business

  activities towards consumers throughout the United States, including within this district through

  the operation of Internet based e-commerce stores via Internet marketplace websites under the

  Seller IDs.

         18.        Defendants are the past and present controlling forces behind the sale of products

  under counterfeits and infringements of Plaintiff’s trademarks as described herein using at least

  the Seller IDs.



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          19.     Upon information and belief, Defendants directly engage in unfair competition by

  advertising, offering for sale, and selling goods bearing one or more of Plaintiff’s trademarks to

  consumers within the United States and this District through Internet based e-commerce stores

  using, at least, the Seller IDs and additional seller identification aliases and domain names not yet

  known to Plaintiff. Defendants have purposefully directed some portion of their illegal activities

  towards consumers in the State of Florida through the advertisement, offer to sell, sale, and/or

  shipment of counterfeit and infringing goods into the State.

          20.     Defendants have registered, established or purchased, and maintained their Seller

  IDs. Upon information and belief, Defendants may have engaged in fraudulent conduct with

  respect to the registration of the Seller IDs.

          21.     Upon information and belief, some Defendants have registered and/or maintained

  their Seller IDs for the sole purpose of engaging in illegal counterfeiting activities.

          22.     Upon information and belief, Defendants will continue to register or acquire new

  seller identification aliases and domain names for the purpose of selling and offering for sale goods

  bearing counterfeit and confusingly similar imitations of one or more of Plaintiff’s trademarks

  unless preliminarily and permanently enjoined.

          23.     Defendants use their Internet-based businesses in order to infringe the intellectual

  property rights of Plaintiff.

          24.     Defendants’ business names, i.e., the Seller IDs, associated payment accounts, and

  any other alias seller identification names used in connection with the sale of counterfeit and

  infringing goods bearing one or more of Plaintiff’s trademarks are essential components of

  Defendants’ online activities and are one of the means by which Defendants further their

  counterfeiting and infringement scheme and cause harm to Plaintiff. Moreover, Defendants are



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  using Plaintiff’s famous trademarks to drive Internet consumer traffic to their e-commerce stores

  operating under the Seller IDs, thereby increasing the value of the Seller IDs and decreasing the

  size and value of Plaintiff’s legitimate marketplace and intellectual property rights at Plaintiff’s

  expense.

                             GENERAL FACTUAL ALLEGATIONS

                               Plaintiff’s Intellectual Property Rights

         25.     Plaintiff is the owner of the following trademarks, which are valid and registered

  on the Principal Register of the United States Patent and Trademark Office:

   Trademark         Reg./Serial No.    Class of Goods and Services
   DSQUARED2         4,223,735          IC 009: [ Scientific, nautical, surveying, photographic,
                                        cinematographic, optical, weighing, measuring, signaling,
                                        checking, life-saving and teaching apparatus and
                                        instruments, namely, cameras; apparatus and instruments
                                        for conducting, switching, transforming, accumulating,
                                        regulating or controlling electricity, namely, electric
                                        conductors, switches, transformers, accumulators, voltage
                                        regulators and controls; apparatus for recording,
                                        transmission or reproduction of sound or images; blank
                                        magnetic data carriers, blank recording disks; automatic
                                        vending machines and mechanisms for coin-operated
                                        apparatus; cash registers, calculating machines, data
                                        processing equipment and computers; fire extinguishers; ]
                                        spectacles; optical spectacles; optical glasses; sunglasses;
                                        [ goggles for sports; ] spectacle glasses; spectacle frames;
                                        [ audiovisual teaching apparatus, namely, multimedia
                                        projectors; barcode readers; ] spectacle cases [ ; anti-
                                        dazzle spectacles; binoculars; pince-nez cases; eyeglass
                                        chains; contact lenses; containers for contact lenses;
                                        optical correcting lenses; dressmakers' measures, namely,
                                        measuring tape; eyeglass cords; pince-nez mountings;
                                        protective eyepieces ]

   DSQUARED2         4,806,182          IC 025: footwear; caps for babies and children; bodysuits
                                        for babies and children; underpants for babies and
                                        children; footwear for babies and children; shirts for
                                        babies and children; tights for babies and children; suits
                                        for babies and children; vests for babies and children;
                                        gloves for babies and children; skirts for babies and

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                               children; trousers for babies and children; pullovers for
                               babies and children; coats for babies and children; jeans
                               for babies and children; t-shirts for babies and children; [
                               bathrobes for babies and children; ] parkas for babies and
                               children; pajamas for babies and children; dresses for
                               babies and children; shoes for babies and children [ ;
                               uniforms for babies and children; imitation leather
                               clothing for babies and children, namely, underpants,
                               shirts, skirts, vests, coats; leather clothing for babies and
                               children, namely, underpants, shirts, skirts, vests, coats ;
                               bibs, namely, baby bibs not of paper, cloth bibs ]

                               IC 026: [ Lace and embroidery, ribbons and braid; ]
                               buttons [, hooks and eyes, sewing pins and needles;
                               artificial flowers; hair pins; spangles for clothing; elastic
                               ribbons; eyelets for clothing; bows for the hair; hair
                               bands; hair curling pins; hair nets; hair netting; false hair;
                               barrettes hair-slides; hair grips slides; tresses of hair;
                               plaited hair extensions; reins for guiding children; child
                               restraining devices in the form of fabric harnesses for
                               chairs; harnesses for guiding children ]

   DSQUARED2    4,792,603      IC 024: [ Textiles and textile goods, namely, bed and table
                               linen; bed and table covers of textile, namely, bed and
                               table linens; curtain holders of textile materials, namely,
                               curtain loops of textile material; cloth flags; flags, namely,
                               fabric flags; fabric table runners; bed covers; curtains of
                               textiles or plastic; quilts and bedspreads; eiderdowns and
                               down coverlets; cloth labels; textiles used as lining for
                               clothing; mattress covers; unfitted furniture covers not of
                               paper; covers for cushions and pillows, toilet gloves,
                               namely, bath gloves; oilcloths; bed and travelling
                               blankets; table covers, not of paper, namely, plastic;
                               kitchen textiles, namely, kitchen towels; mosquito nets; ]
                               handkerchiefs of textile; [ bath linen; household linen; bed
                               sheets; sleeping bags in the nature of sheeting and place
                               mats, not of paper; table napkins of textile; billiard cloth;
                               textile wall hangings; ] traced cloths for embroidery;
                               cloth, namely, cotton cloth, [ flax cloth; upholstery
                               fabrics; ] towels of textile; textile face towels [ ; textile
                               napkins for removing make up; curtains ]

   DSQUARED2    4,599,398      IC 003: [ Bleaching preparations and other substances for
                               laundry use, namely, laundry detergents, laundry blueing,
                               fabric softener for laundry use, laundry wax, laundry
                               sizing, laundry starch, laundry glaze; cleaning, polishing,

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                               and abrasive preparations; degreasing preparations for
                               precious metals, leather, cloths, footwear, headwear; ]
                               soaps; perfumery, perfumes, [ essential oils, ] cosmetics, [
                               hair lotions; dentifrices; almond oil for cosmetic use;
                               almond oil, namely, body oil; almond soaps; amber
                               perfumery; depilatory creams; make-up removing
                               products; lipstick; beauty mask; ] shaving preparations; [
                               preservative creams for polishing and buffing leather;
                               leather protection creams; cosmetic preparations for
                               slimming purposes; sunscreen and sun-tanning
                               preparations; aromatics essential oils; fabric softeners;
                               astringents for cosmetic purposes; cosmetic preparations
                               for baths; bath salts, not for medical use; cotton sticks for
                               cosmetic use; dental hygiene goods not for medical use,
                               namely, mouth wash; hair lotions; dyes for hair; cosmetic
                               preparations for eyelashes, namely, mascara; colorants for
                               toilet purposes, namely, mouthwash; ] cosmetic creams; [
                               cosmetic sets comprising make-up and lipsticks; ] lotions
                               for cosmetic purposes; [ pencils for cosmetic use; eaux de
                               Cologne; lavender waters; scented linen water; toilet
                               water; oils for cosmetic use; oils for toilet use; oils for
                               perfumery; cleansing milk for toilet purposes; tissues
                               impregnated with cosmetic lotions; make-up products,
                               namely, powder, pencils, and foundations; ] cosmetic skin
                               care preparations

                               IC014: [ Precious metals and their alloys; ] goods in
                               precious metals or coated therewith, namely, jewelry, [
                               precious stones, timepieces and chronometric instruments;
                               ] jewelry, [ precious stones; timepieces and chronometric
                               instruments; ] jewelry and jewelry articles, namely, rings
                               as jewelry, earrings, jewelry brooches, jewelry necklaces;
                               silver products, excluding knives, forks and spoons,
                               namely, jewelry; [ collectable coins; ] rings as jewelry;
                               earrings; jewelry brooches; jewelry necklaces; [ tie pins; ]
                               ornaments of precious metal in the nature of jewelry; [
                               artworks of precious metal; jewel cases of precious metal;
                               watches; stopwatches; watch cases, watch bands, watch
                               springs, watch chains, watch bezels; ] key rings of
                               precious metal [ statues, figurines, statuettes of precious
                               metal; cases and boxes for jewelry and timepieces; medals
                               ]

                               IC 018: Leather and imitation leather, and goods made of
                               these materials, namely, [ trunks and suitcases, leather
                               briefcases, ] handbags, rucksacks, [ wheeled bags, ] travel

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                               bags; [ animal skins; trunks and suitcases; umbrellas and
                               parasols; walking sticks; whips, harness and saddlery; ]
                               business card holders in the nature of wallets; leather key
                               cases; [ attaché cases; leather briefcases; animal skin,
                               namely, moleskin; imitation leather; beach umbrellas; ]
                               wallets; purses not of precious metal; handbags,
                               rucksacks, [ wheeled bags, bags for campers in the nature
                               of all-purpose carrying bags, ] travel bags, [ beach bags, ]
                               school bags; toiletry cases sold empty; [ leather travelling
                               sets, namely, luggage; ] toiletry bags and make-up bags
                               sold empty; [ collars and clothing for animals; ] mesh
                               shopping bags [ leather sachets and bags in the nature of
                               envelopes and small bags for merchandise packaging ]

                               IC 025: Clothing, namely, pants, jackets, [ gloves, ] skirts,
                               belts, footwear, headwear; shirts; clothing of leather or
                               imitation leather, namely, shirts, pants, jackets, [ gloves,
                               skirts, ] belts; women's clothing, namely, dresses, skirts, [
                               tights; ] clothing hoods; belts; [ gloves; ] sashes for wear;
                               scarves; shawls; neckties; [ hosiery; ] socks; shoes; [
                               bedroom slippers; ] clothing for sports, skiing and the
                               beach, namely, jackets, swimsuits, [ gloves, ] caps,
                               scarves, jumpsuits, [ wetsuits, ] parkas, shorts, t-shirts,
                               anti-perspirant t-shirts; underwear; coats; overalls; short-
                               sleeved shirts; tee shirts; turtlenecks; [ slips; ] suits;
                               trousers; jackets; pullovers; vests; sweaters; dresses; shirt
                               yokes; shirt fronts; [ finished textile linings for garments;
                               ] coats; stuff jackets; pelerines; [ gaberdines; ] waterproof
                               clothing, namely, raincoats, boots, parkas, [ ponchos,;
                               pockets for clothing; ] pocket squares; jerseys; knitwear
                               clothing, namely, sweaters, dresses, pull overs [ body
                               linen; dressing gowns ]

                               IC 035: [ Advertising; business management; business
                               administration and office functions; business marketing
                               and ] retail store services featuring perfumes, cosmetics,
                               jewelry, goods of leather, [ and fur, ] travel bags, [ trunks,
                               umbrellas, ] clothing, sportswear, headgear [ sunglasses,
                               printed materials, accessories for hair; business
                               management for licensing of goods and services for
                               others; administrative processing of purchase orders; data
                               systematization and compilation; demonstration of goods;
                               distribution of samples; organization of events or trade
                               fairs for commercial or advertising purposes; modeling
                               for advertising and sales promotion; online advertising on
                               a computer network; presentation of goods on

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                               communication media for retail purposes; procurement
                               services for others, namely, purchasing furniture,
                               perfumes, cosmetics, jewelry, goods of leather and fur,
                               travel bags, trunks, umbrellas, clothing, sportswear,
                               headgear, sunglasses, printed materials, accessories for
                               hair, all for other businesses; sales promotion for others;
                               shop window dressing ]

   DSQUARED      4,340,392     IC 025: Clothing, namely, pants, shirts, trousers, tops,
                               shorts, dresses, skirts, sweaters, jackets, footwear,
                               headgear, namely, hats, caps, visors; shirts; clothing made
                               of leather or of imitation leather, namely, shirts, pants,
                               jackets, [ gloves, skirts, ] belts; ladies' clothing, namely,
                               blouses, skirts, pants, dresses, tops, bra, [ tights, ]
                               underwear; [ hoods; ] belts; [ gloves; sashes for wear; ]
                               scarves; shawls; neckties; hosiery; socks; shoes; slippers;
                               clothing for sports, skiing and the beach, namely,
                               swimsuits, [ gloves, ] caps, scarves, jumpsuits, [ wetsuits,
                               ] parkas, shorts, t-shirts; [ babies' bibs of textile; babies'
                               diapers of textile; ] underwear; coats; overalls; short-
                               sleeved shirts; tee-shirts; turtlenecks; [ slips; ] suits;
                               trousers; jackets; pullovers; [ waistcoats; ] sweaters;
                               frocks; [ shirt yokes; shirt fronts; ready-made linings,
                               namely, finished textile linings for garments; ] coats; stuff
                               jackets; [ pelerines; ] waterproof clothing, namely,
                               raincoat, boots, parkas; [ ponchos; pockets for clothing;
                               pocket squares; jerseys; ] knitwear, namely, sweater, knit
                               dresses, pull over, knit shirts, knit hats, knit tops, [ knit
                               bottoms, ]knit jackets; underwear; [ dressing gowns;
                               pajamas; cap peaks ]

   ICON          79309468      IC 009: Sunglasses; eyewear; spectacles; pince-nez cases;
                               chains for spectacles; contact lenses; containers for
                               contact lenses; correcting lenses (optics); cords for
                               spectacles; eyeglass frames and optical goods; none of the
                               aforesaid goods in the field of electric meters; none of the
                               aforesaid for use in relation to the power sports industry,
                               including motorcycles, utility terrain vehicles, all-terrain
                               vehicles, personal watercraft and snowmobiles; none of
                               the aforementioned goods in relation to tools/products for
                               professional craftsmen or work wear and protective
                               equipment

                               IC 018: Leather and imitation leather; animal skins; trunks
                               and suitcases; umbrellas and parasols; walking sticks;
                               whips, harness and saddlery; card cases (wallets); key

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                               cases (leather goods); attaché cases; briefcases (leather
                               goods), attache cases; document portfolios [cases];
                               moleskin (imitation leather), imitation leather; beach
                               umbrellas; whips and saddlery goods; wallets; coin purses
                               not of precious metal; handbags, backpacks, wheeled
                               bags, bags for climbers, bags for campers, travel bags,
                               beach bags, school bags; shopping bags; suitcases and
                               boxes designed to contain toiletries; travel sets (leather
                               goods); toiletry sets and make-up bags (empty); collars
                               and clothing for animals; net bags for shopping; bags and
                               net bags for shopping; bags and small bags (envelopes,
                               pouches) of leather for packaging; none of the aforesaid
                               for use in relation to the power sports industry, including
                               motorcycles, utility terrain vehicles, all-terrain vehicles,
                               personal watercraft and snowmobiles

                               IC 025: Clothing; footwear; headgear; shirts; clothing of
                               leather or imitation leather; clothing items; women's
                               clothing; men's clothing; clothing for children and babies;
                               hoods (clothing); belts (clothing); gloves (clothing);
                               sashes for wear; scarves; shawls; neckties; hosiery; socks;
                               shoes; bedroom slippers; clothing for sports, skiing and
                               the beach; swaddling clothes; underwear; coats; overalls;
                               short-sleeved shirts; tee-shirts; turtlenecks; slips
                               (underwear); suits; trousers; jackets; pullovers; vests;
                               sweaters; dresses; shirt yokes; shirt fronts; ready-made
                               linings (parts of clothing); stuff jackets; pelerines;
                               gabardines (clothing); waterproof clothing; pockets for
                               clothing; pocket squares; jerseys (clothing); knitwear
                               (clothing); underwear (lingerie); dressing gowns; none of
                               the aforesaid for use in relation to the power sports
                               industry, including motorcycles, utility terrain vehicles,
                               all-terrain vehicles, personal watercraft and snowmobiles;
                               none of the aforementioned goods in relation to
                               tools/products for professional craftsmen or work wear
                               and protective equipment

                               IC 035: Retail services, online retail services and mail
                               order retail services in relation to clothing, footwear,
                               headgear, jewellery, precious stones, watches, clocks,
                               precious metals and their alloys, bracelets, brooches,
                               cufflinks, perfumery, cosmetics, skincare; retail services,
                               online retail services and mail order retail services in
                               relation to medals, ornaments, shoe ornaments, objects of
                               imitation gold, ornamental pins, tie pins, tie clips and
                               watch straps; retail services, online retail services and

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                               mail order retail services in relation to leather and
                               imitations of leather, bags, travelling bags, cases,
                               suitcases, briefcases, straps of leather or imitation leather,
                               handbags, garment bags, haversacks, rucksacks, trunks,
                               purses, wallets, key cases, pouches, canes, sticks, saddlery
                               and belts; advertising; marketing; promotional services;
                               organisation, operation and supervision of loyalty
                               programmes and of sales and promotional incentive
                               schemes; fashion show exhibitions for commercial
                               purposes; advertising and marketing services provided by
                               means of social media; information, advisory and
                               consultancy services in relation to the aforesaid services;
                               none of the aforementioned services to be provided in
                               connection with the power sports industry, including
                               motorcycles, utility terrain vehicles, all-terrain vehicles,
                               personal watercraft and snowmobiles

   D2            4,603,602     IC 014: Jewelry, [ precious stones; timepieces and
                               chronometric instruments; ] jewelry and jewelry items,
                               namely, bracelets, chains, [ brooches, rings, charms,
                               collars, gemstones, diamonds, gold, watches and pins;
                               metal coins, namely, collectible coins, commemorative
                               coins, non-monetary coins; rings; earrings; brooches; ]
                               necklaces; [ tie clips; works of art of precious metal;
                               jewelry boxes of precious metal; watches; chronographs
                               as watches; cases for clock- and watchmaking, bracelets, ]
                               jewelry chains [, watch springs; key rings in the nature of
                               trinkets or fobs, statues or figurines statuettes of precious
                               metal; boxes and cases for watches and jewelry; medals ]

                               IC 018: Leather and imitations of leather; [ animal skins;
                               trunks and] traveling bags; [ umbrellas, parasols and
                               walking sticks; ] card holders and cases in the nature of
                               pocket wallets; leather key cases; [ briefcases; moleskin;
                               imitation leather; parasols; whips, harness and saddlery; ]
                               pocket wallets; [ purses not of precious metal, handbags,
                               backpacks, wheeled bags, bags for climbers in the nature
                               of carry-all bags, bags for campers in the nature of carry-
                               all bags, canvas, leather, textile or mesh shopping bags,
                               beach bags; ] traveling bags [, school bags; valises
                               designed to hold toiletries; leather traveling sets, namely,
                               luggage; toilet bags sold empty; make-up bags sold
                               empty; collars and clothing for animals; canvas, leather,
                               textile or mesh bags and nets for shopping; leather sachets
                               and bags in the nature of envelopes and small bags for
                               merchandising packaging ]

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                               IC 025: Clothing, namely, t-shirts, shirts, pull over,
                               trousers, shorts, [ skirts, dresses, jackets, ] footwear,
                               headgear, namely, headwear, caps, hats; shirts; [ clothing
                               made of leather or of imitation leather, namely, trousers,
                               shorts, skirts, dresses, jackets; ] ladies' clothing, namely,
                               underwear, pants, bra, [ skirts, and dresses; ] hoods; belts;
                               [ gloves; ] sashes for wear; scarves; [ shawls; neckties;
                               hosiery; socks; ] shoes; [ slippers; ] clothing for sports, [
                               skiing and ] the beach, namely, swimming suit, [ ski bibs,
                               jumpsuits, ] antiperspirant t-shirts, [ babies' diapers of
                               textile; ] underwear; [ coats; overalls; ] short-sleeved
                               shirts; tee-shirts; turtlenecks; [ slips; suits; ] trousers;
                               jackets; pullovers; [ waistcoats; ] sweaters; [ frocks; ] shirt
                               yokes; shirt fronts; [ finished ready-made linings for
                               clothing; coats; stuff jackets; pelerines; gabardines,
                               namely, coat, suits, ] trousers, [ skirts; waterproof
                               clothing, namely, raincoat, boots, parkas, ponchos;
                               pockets for clothing; pocket squares; ] jerseys; knitwear,
                               namely, [ tights, ] jersey, cardigan, knitted waistcoat;
                               underwear; [ dressing gowns; pajamas; dressing gowns; ]
                               cap peaks; underwear

                               IC 035: [ Business management services, namely,
                               administration of business engaged in ready to wear
                               articles and boutique, fashion accessories, perfumes,
                               cosmetics, leatherwear and footwear; business
                               administration; office functions; ] retail store services
                               featuring [ perfumes, cosmetics, ] jewelry, goods of
                               leather [ and fur ], traveling bags, [ trunks, umbrellas, ]
                               clothing, sportswear, headgear [, sunglasses, printed
                               materials, accessories for hair; business management for
                               licensing of goods and services for others; administrative
                               processing of purchase orders; data systemization and
                               compilation; modeling for advertising and sales
                               promotion; procurement, namely, purchasing leatherwear
                               articles, clothing articles and footwear for others; shop
                               window dressing ]

   DEAN &        3,935,771     IC 025: Clothing and leather clothing, namely, shirts,
   DAN                         blouses, skirts, [ tailleurs, ]jackets, trousers, shorts, [
                               vests, ]t-shirts, [ socks, ]tank tops, [ foulards, ties,
                               ]raincoats, overcoats, coats, swimwear, track suits, wind-
                               resistant jackets, [ belts, ]footwear and headwear




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         26.     The Dsquared2 Marks are used in connection with the design, marketing, and

  distribution of high-quality goods in at least the categories identified above.

         27.     Long before Defendants began their infringing activities complained of herein, the

  Dsquared2 Marks had been used by Plaintiff in interstate commerce to identify and distinguish

  Plaintiff’s products and merchandise for an extended period.

         28.     The Dsquared2 Marks are well-known and famous and have been for many years.

  Plaintiff has expended substantial time, money, and other resources developing, advertising, and

  otherwise promoting the Dsquared2 Marks and products bearing the Dsquared2 Marks. The

  Dsquared2 Marks qualify as famous marks as that term is used in 15 U.S.C. §1125(c)(1).

         29.     Plaintiff has extensively used, advertised, and promoted the Dsquared2 Marks in

  the United States in association with their merchandise.

         30.     As a result of Plaintiff’s efforts, members of the consuming public readily identify

  products and merchandise bearing or sold under the Dsquared2 Marks as being high quality goods

  sponsored and approved by Plaintiff.

         31.     The Dsquared2 Marks serve as a symbol of Plaintiff’s quality, reputation, and

  goodwill and have never been abandoned.

                        Defendants’ Counterfeiting and Infringing Conduct

         32.     Upon information and belief, Defendants are promoting and advertising,

  distributing, selling, and/or offering for sale counterfeit and infringing goods in interstate

  commerce using exact copies and confusingly similar copies of the Dsquared2 Marks through at

  least the Internet based e-commerce stores operating under the Seller IDs (collectively, the

  “Counterfeit Goods”). Plaintiff has used the Dsquared2 Marks extensively and continuously




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  before Defendants began offering counterfeit and confusingly similar imitations of Plaintiff’s

  merchandise.

          33.     Upon information and belief, Defendants’ Counterfeit Goods are of a quality

  substantially and materially different than that of Plaintiff’s genuine goods. Defendants, upon

  information and belief, are actively using, promoting and otherwise advertising, distributing,

  selling and/or offering for sale substantial quantities of their Counterfeit Goods with the knowledge

  and intent that such goods will be mistaken for the genuine high quality goods offered for sale by

  Plaintiff under the Dsquared2 Marks despite Defendants’ knowledge that they are without

  authority to use the Dsquared2 Marks. The effect of Defendants’ actions will cause confusion of

  consumers, at the time of initial interest, sale, and in the post-sale setting, who will believe

  Defendants’ Counterfeit Goods are genuine goods originating from, associated with, or approved

  by Plaintiff.

          34.     Defendants advertise their Counterfeit Goods for sale to the consuming public via

  e-commerce stores on Internet marketplace websites using at least the Seller IDs. In so advertising

  these goods, Defendants improperly and unlawfully use the Dsquared2 Marks without Plaintiff’s

  permission.

          35.     As part of their overall infringement and counterfeiting scheme, Defendants are,

  upon information and belief, employing and benefitting from substantially similar, advertising and

  marketing strategies based, in large measure, upon an illegal use of counterfeits and infringements

  of the Dsquared2 Marks. Specifically, Defendants are using counterfeits and infringements of

  Plaintiff’s famous Dsquared2 Marks in order to make their e-commerce stores and websites selling

  illegal goods appear more relevant, authentic, and attractive to consumers searching for Plaintiff’s

  related goods and information online. By their actions, Defendants are contributing to the creation



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  and maintenance of an illegal marketplace operating in parallel to the legitimate marketplace for

  Plaintiff’s genuine goods. Defendants are causing individual, concurrent and indivisible harm to

  Plaintiff and the consuming public by (i) depriving Plaintiff and other third parties of their right to

  fairly compete for space within search engine results and reducing the visibility of Plaintiff’s

  genuine goods on the World Wide Web, (ii) causing an overall degradation of the goodwill

  associated with the Dsquared2 Marks, and/or (iii) increasing Plaintiff’s overall cost to market the

  Dsquared2 Marks and educate consumers about their brand via the Internet.

         36.     Upon information and belief, Defendants are concurrently targeting their

  counterfeiting and infringing activities toward consumers and causing harm within this District

  and elsewhere throughout the United States. As a result, Defendants are defrauding Plaintiff and

  the consuming public for Defendants’ own benefit.

         37.     Upon information and belief, at all times relevant hereto, Defendants in this action

  had full knowledge of Plaintiff’s ownership of the Dsquared2 Marks, including their exclusive

  right to use and license such intellectual property and the goodwill associated therewith.

         38.     Defendants’ use of the Dsquared2 Marks, including the promotion and

  advertisement, distribution, sale and offering for sale of their Counterfeit Goods, is without

  Plaintiff’s consent or authorization.

         39.     Defendants are engaging in the above-described illegal counterfeiting and

  infringing activities knowingly and intentionally or with reckless disregard or willful blindness to

  Plaintiff’s rights for the purpose of trading on Plaintiff’s goodwill and reputation. If Defendants’

  intentional counterfeiting and infringing activities are not preliminarily and permanently enjoined

  by this Court, Plaintiff and the consuming public will continue to be harmed.




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         40.     Defendants’ above identified infringing activities are likely to cause confusion,

  deception, and mistake in the minds of consumers before, during and after the time of purchase.

  Moreover, Defendants’ wrongful conduct is likely to create a false impression and deceive

  customers, the public, and the trade into believing there is a connection or association between

  Plaintiff’s genuine goods and Defendants’ Counterfeit Goods, which there is not.

         41.     Upon information and belief, Defendants’ payment and financial accounts are

  being used by Defendants to accept, receive, and deposit profits from Defendants’ trademark

  counterfeiting and infringing and unfairly competitive activities connected to their Seller IDs and

  any other alias seller identification names being used and/or controlled by them.

         42.     Further, upon information and belief, Defendants are likely to transfer or conceal

  their assets to avoid payment of any monetary judgment awarded to Plaintiff.

         43.     Plaintiff has no adequate remedy at law.

         44.     Plaintiff is suffering irreparable injury and have suffered substantial damages as a

  result of Defendants’ unauthorized and wrongful use of the Dsquared2 Marks .

         45.     The harm and damages sustained by Plaintiff have been directly and proximately

  caused by Defendants’ wrongful use, advertisement, promotion, offers to sell, and sale of their

  Counterfeit Goods.

          COUNT I -- TRADEMARK COUNTERFEITING AND INFRINGEMENT
             PURSUANT TO § 32 OF THE LANHAM ACT (15 U.S.C. § 1114)

         46.     Plaintiff hereby adopts and re-alleges the allegations set forth in paragraphs 1

  through 45 as though fully set forth herein.

         47.     This is an action for trademark counterfeiting and infringement against Defendants

  based on their use of counterfeit and confusingly similar imitations of the Dsquared2 Marks in




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  commerce in connection with the promotion, advertisement, distribution, offering for sale, and

  sale of the Counterfeit Goods.

           48.    Defendants are promoting and otherwise advertising, selling, offering for sale, and

  distributing goods, using counterfeits and/or infringements of the Dsquared2 Marks. Defendants

  are continuously infringing and inducing others to infringe the Dsquared2 Marks by using one or

  more of them to advertise, promote, offer to sell, and/or sell at least counterfeit and infringing

  goods.

           49.    Defendants’ concurrent counterfeiting and infringing activities are likely to cause

  and actually are causing confusion, mistake, and deception among members of the trade and the

  general consuming public as to the origin and quality of Defendants’ Counterfeit Goods.

           50.    Defendants’ unlawful actions have individually and jointly caused and are

  continuing to cause unquantifiable damage to Plaintiff and are unjustly enriching Defendants with

  profits at Plaintiff’s expense.

           51.    Defendants’ above-described illegal actions constitute counterfeiting and

  infringement of the Dsquared2 Marks in violation of Plaintiff’s rights under § 32 of the Lanham

  Act, 15 U.S.C. § 1114.

           52.    Plaintiff has suffered and will continue to suffer irreparable injury and damages due

  to Defendants’ above described activities if Defendants are not preliminarily and permanently

  enjoined. Additionally, Defendants will continue to wrongfully profit from their illegal activities.

                   COUNT II -- FALSE DESIGNATION OF ORIGIN
             PURSUANT TO § 43(A) OF THE LANHAM ACT (15 U.S.C. § 1125(a))

           53.    Plaintiff hereby adopts and re-alleges the allegations set forth in paragraphs 1

  through 45 as though fully set forth herein.




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          54.     Upon information and belief, Defendants’ Counterfeit Goods bearing, offered for

  sale, and sold under copies of the Dsquared2 Marks have been widely advertised and offered for

  sale throughout the United States via the Internet.

          55.     Defendants’ Counterfeit Goods bearing, offered for sale, and sold under copies of

  the Dsquared2 Marks are virtually identical in appearance to Plaintiff’s genuine goods. However,

  Defendants’ Counterfeit Goods are different in quality. Accordingly, Defendants’ activities are

  likely to cause confusion in the trade and among the general public as to at least the origin or

  sponsorship of their Counterfeit Goods.

          56.     Defendants, upon information and belief, have used in connection with their

  advertisement, offer for sale, and sale of their Counterfeit Goods, false designations of origin and

  false descriptions and representations, including words or other symbols and trade dress, which

  tend to falsely describe or represent such goods and have caused such goods to enter into commerce

  with full knowledge of the falsity of such designations of origin and such descriptions and

  representations, all to Plaintiff’s detriment.

          57.     Defendants have authorized infringing uses of the Dsquared2 Marks in Defendants’

  advertisement and promotion of their counterfeit and infringing branded goods. Defendants have

  misrepresented to members of the consuming public that the Counterfeit Goods being advertised

  and sold by them are genuine, non-infringing goods.

          58.     Additionally, Defendants are using counterfeits and infringements of the

  Dsquared2 Marks in order to unfairly compete with Plaintiff and others for space within search

  engine organic results, thereby jointly depriving Plaintiff of a valuable marketing and educational

  tool which would otherwise be available to Plaintiff and reducing the visibility of Plaintiff’s

  genuine goods on the World Wide Web.



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         59.     Defendants’ above-described actions are in violation of Section 43(a) of the

  Lanham Act, 15 U.S.C. §1125(a).

         60.     Plaintiff has no adequate remedy at law and has sustained indivisible injury and

  damage caused by Defendants’ concurrent conduct. Absent an entry of an injunction by this Court,

  Defendants will continue to wrongfully reap profits and Plaintiff will continue to suffer irreparable

  injury to its goodwill and business reputation, as well as monetary damages.

                   COUNT III -- COMMON LAW UNFAIR COMPETITION

         61.     Plaintiff hereby adopts and re-alleges the allegations set forth in paragraphs 1

  through 45 as though fully set forth herein.

         62.     This is an action against Defendants based on their promotion, advertisement,

  distribution, sale, and/or offering for sale of goods using marks which are virtually identical, both

  visually and phonetically, to the Dsquared2 Marks in violation of Florida’s common law of unfair

  competition.

         63.     Specifically, Defendants are promoting and otherwise advertising, selling, offering

  for sale and distributing goods bearing counterfeits and infringements of the Dsquared2 Marks.

  Defendants are also using counterfeits and infringements of the Dsquared2 Marks to unfairly

  compete with Plaintiff for (i) space in search engine results across an array of search terms and/or

  (ii) visibility on the World Wide Web.

         64.     Defendants’ infringing activities are likely to cause and actually are causing

  confusion, mistake and deception among members of the trade and the general consuming public

  as to the origin and quality of Defendants’ products by their use of the Dsquared2 Marks.

         65.     Plaintiff has no adequate remedy at law and is suffering irreparable injury and

  damages as a result of Defendants’ actions.



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                 COUNT IV - COMMON LAW TRADEMARK INFRINGEMENT

           66.    Plaintiff hereby adopts and re-alleges the allegations set forth in paragraphs 1

  through 45 as though fully set forth herein.

           67.    This is an action for common law trademark infringement against Defendants based

  on their promotion, advertisement, offering for sale, and sale of their Counterfeit Goods bearing

  the Dsquared2 Marks. Plaintiff is the owner of all common law rights in and to the Dsquared2

  Marks.

           68.    Specifically, Defendants, upon information and belief, are promoting and otherwise

  advertising, distributing, offering for sale, and selling goods bearing infringements of the

  Dsquared2 Marks.

           69.    Defendants’ infringing activities are likely to cause and actually are causing

  confusion, mistake, and deception among members of the trade and general consuming public as

  to the origin and quality of Defendants’ Counterfeit Goods bearing the Dsquared2 Marks.

           70.    Plaintiff has no adequate remedy at law and is suffering damages and irreparable

  injury as a result of Defendants’ actions.

                                      PRAYER FOR RELIEF

           WHEREFORE, Plaintiff demands judgment on all Counts of this Complaint and an award

  of equitable relief and monetary relief against Defendants as follows:

           A.     Entry of temporary, preliminary, and permanent injunctions pursuant to 15 U.S.C.

  § 1116, 17 U.S.C. § 502(a), and Federal Rule of Civil Procedure 65 enjoining Defendants, their

  agents, representatives, servants, employees, and all those acting in concert or participation

  therewith, from manufacturing or causing to be manufactured, importing, advertising or

  promoting, distributing, selling or offering to sell their Counterfeit Goods; from infringing,



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  counterfeiting, or diluting the Dsquared2 Marks; from using the Dsquared2 Marks, or any mark or

  design similar thereto, in connection with the sale of any unauthorized goods; from using any logo,

  trade name or trademark or design that may be calculated to falsely advertise the services or

  products of Defendants as being sponsored by, authorized by, endorsed by, or in any way

  associated with Plaintiff; from falsely representing themselves as being connected with Plaintiff,

  through sponsorship or association, or engaging in any act that is likely to falsely cause members

  of the trade and/or of the purchasing public to believe any goods or services of Defendants are in

  any way endorsed by, approved by, and/or associated with Plaintiff; from using any counterfeit,

  copy, or colorable imitation of the Dsquared2 Marks in connection with the publicity, promotion,

  sale, or advertising of any goods sold by Defendants; from affixing, applying, annexing or using

  in connection with the sale of any goods, a false description or representation, including words or

  other symbols tending to falsely describe or represent Defendants’ goods as being those of

  Plaintiff’s, or in any way endorsed by Plaintiff and from offering such goods in commerce; from

  engaging in search engine optimization strategies using colorable imitations of Plaintiff’s

  Dsquared2 Marks; and from otherwise unfairly competing with Plaintiff.

         B.      Entry of an order pursuant to 28 U.S.C. § 1651(a), The All Writs Act, and the

  Court’s inherent authority, that, upon Plaintiff’s request, the applicable governing Internet

  marketplace website operators and/or administrators for the Seller IDs who are provided with

  notice of an injunction issued by the Court disable and/or cease facilitating access to the Seller

  IDs, and any other alias seller identification names being used and/or controlled by Defendants to

  engage in the business of marketing, offering to sell, and/or selling goods bearing counterfeits and

  infringements of the Dsquared2 Marks.




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         C.      Entry of an order pursuant to 28 U.S.C. § 1651(a), The All Writs Act, and the

  Court’s inherent authority, that, upon Plaintiff’s request, any Internet marketplace website

  operators and/or administrators for the Seller IDs who are provided with notice of an injunction

  issued by the Court, identify any e-mail address known to be associated with Defendants’

  respective Seller ID.

         D.      Entry of an order pursuant to 28 U.S.C. § 1651(a), The All Writs Act, and the

  Court’s inherent authority that, upon Plaintiff’s request, any Internet marketplace website

  operators and/or administrators who are provided with notice of an injunction issued by the Court

  permanently remove any and all listings and associated images of goods bearing counterfeits

  and/or infringements of the Dsquared2 Marks via the e-commerce stores operating under the Seller

  IDs, and upon Plaintiff’s request, any other listings and images of goods bearing counterfeits

  and/or infringements of the Dsquared2 Marks associated with and/or linked to the same sellers or

  linked to any other alias seller identification names being used and/or controlled by Defendants to

  promote, offer for sale and/or sell goods bearing counterfeits and/or infringements of the

  Dsquared2 Marks.

         E.      Entry of an order requiring Defendants to account to and pay Plaintiff for all profits

  and damages resulting from Defendants’ trademark counterfeiting and infringing and unfairly

  competitive activities and that the award to Plaintiff be trebled, as provided for under 15 U.S.C.

  §1117, or, at Plaintiff’s election with respect to Count I, that Plaintiff be awarded statutory

  damages from each Defendant in the amount of twenty thousand US dollars ($20,000.00) per each

  counterfeit trademark used and product type sold, as provided by 15 U.S.C. §1117(c)(2) of the

  Lanham Act.




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         F.      Entry of an order that, upon Plaintiff’s request, Defendants and any financial

  institutions, payment processors, banks, escrow services, money transmitters, or marketplace

  platforms, and their related companies and affiliates, identify and restrain all funds, up to and

  including the total amount of judgment, in all financial accounts and/or sub-accounts used in

  connection with the Seller IDs or other alias seller identification or e-commerce store names,

  domain names and/or websites used by Defendants presently or in the future, as well as any other

  related accounts of the same customer(s) and any other accounts which transfer funds into the same

  financial institution account(s), to be surrendered to Plaintiff in partial satisfaction of the monetary

  judgment entered herein.

         G.      Entry of an award pursuant to 15 U.S.C. § 1117 (a) and (b) of Plaintiff’s costs and

  reasonable attorneys’ fees and investigative fees associated with bringing this action.

         H.      Entry of an order requiring Defendants to pay prejudgment interest according to

  law.

         I.      Entry of an order for such other and further relief as the Court may deem proper

  and just.

  Date: December 20, 2023                         Respectfully submitted by,

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